 Case 2:21-cv-14208-JXN-AME Document 1 Filed 07/27/21 Page 1 of 40 PageID: 1


McCARTER & ENGLISH, LLP
Four Gateway Center
100 Mulberry Street
P.O. Box 652
Newark, New Jersey 07101-0652
(973) 622-4444
(973) 624-7070 FAX
Attorneys for Defendants
  Techtronic Industries North America, Inc. and
  One World Technologies, Inc.
                                                  UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF NEW JERSEY
                                                  :
ANTHONY RIVIECCIO,                                :
                                                  :
                                        Plaintiff,:
                                                      Civil Action No. __________________
v.                                                :
                                                           Honorable _______________
                                                  :
                                                           Honorable _______________
RYOBI TECHNOLOGIES, INC.,                         :
TECHTRONIC INDUSTRIES NORTH                       :
AMERICA, INC., ONE WORLD                          :
                                                    NOTICE OF REMOVAL AND COPIES OF
TECHNOLOGIES, INC. and/or “ABC CORP.:
                                                      ALL PROCESS AND PLEADINGS
1-10” (last being a fictitious designation),      :
                                                  :
                                     Defendants.:
                                                  :


TO:     The United States District Court for the District of New Jersey, Newark Division

        PLEASE TAKE NOTICE that Techtronic Industries North America, Inc., (hereinafter

“Techtronic”) and One World Technologies, Inc. (hereinafter “One World”) are hereby

removing the above-styled action to this Court pursuant to 28 U.S.C. §1441, et. seq. In support

of this Notice, Defendants state:

        1.        The within action, entitled Anthony Rivieccio v. Ryobi Technologies, Inc.,

Techtronic Industries North America, Inc., One World Technologies, Inc. and/or “ABC CORP.

1-10” (last being a fictitious designation) was filed in the Superior Court of New Jersey, Law

Division, Bergen County, Docket No. BER-L-3960-21 on June 18, 2021.




ME1 36844744v.1
 Case 2:21-cv-14208-JXN-AME Document 1 Filed 07/27/21 Page 2 of 40 PageID: 2


        2.        This Court has original jurisdiction over this matter pursuant to 28 U.S.C.

§1332(a). By virtue of the provisions of 28 U.S.C. §1441(a), this entire case is one that may be

removed to this Court.

        3.        Plaintiff Anthony Rivieccio, is a citizen and resident of the State of New Jersey.

        4.        At the time of the filing of the Complaint and at the present time there was not a

legal entity known as Ryobi Technologies, Inc., (a former subsidiary of One World

Technologies, Inc., merged into Defendant One World Technologies, Inc.) Before the filing of

the Complaint there was a legal entity known as Ryobi Technologies, Inc., which was a

corporation of the State of Delaware and which had its principal place of business in the State of

South Carolina, and that corporation was merged into Defendant One World Technologies, Inc.

in December 2004. Because at the time of the filing of the Complaint and at the present time

there was not a legal entity known as Ryobi it does not need to join in the within Notice of

Removal.

        5.        At the time of the filing of the Complaint and at the present time, Defendant One

World was a corporation of the State of Delaware with its principal place of business in the State

of South Carolina.

        6.        At the time of the filing of the Complaint and at the present time, Defendant

Techtronic was a corporation organized under the laws of the State of Delaware with its principal

place of business in the State of South Carolina.

        7.        In the Complaint, plaintiff asserts claims for product liability under the New

Jersey Product Liability Act and for breach of express warranty arising out of injuries allegedly

caused by a saw. (Complaint, First & Second Counts). In the Complaint, plaintiff alleges that he

was injury while using the product. (Complaint, First Count, Paragraph 2). The plaintiff further

alleges in the Complaint that as a result of the accident “…the Plaintiff was caused to suffer and


                                                    2
ME1 36844744v.1
 Case 2:21-cv-14208-JXN-AME Document 1 Filed 07/27/21 Page 3 of 40 PageID: 3


sustain severe, permanent and disabling injuries, both mental and physical, and has been and will

be in the future compelled to spend great and diverse sums of money for medical aid and

treatment, and has been and will be prevented from attending to his usual occupation, duties,

activities and business.”     (Complaint, First Count, Paragraph 9).     Hence, based upon the

Complaint, plaintiff seeks a recovery in excess of $75,000, exclusive of interest and costs, and/or

the value to plaintiff of the relief sought in the Complaint exceeds $75,000, exclusive of interest

and costs, and accordingly the amount in controversy exceeds $75,000, exclusive of interest and

costs.

         8.       Service of the Summons and the Complaint setting forth the claim for relief upon

which such action or proceeding is based was served upon Defendant Ryobi on July 21, 2021.

This was the first service of a Summons and Complaint on Defendant Ryobi.

         9.       Service of the Summons and the Complaint setting forth the claim for relief upon

which such action or proceeding is based was served upon Defendant One World on July 21,

2021. This was the first service of a Summons and Complaint on Defendant One World.

         10.      Service of the Summons and the Complaint setting forth the claim for relief upon

which such action or proceeding is based was served upon Defendant Techtronic on July 21,

2021. This was the first service of a Summons and Complaint on Defendant Techtronic.

         11.      Pursuant to 28 U.S.C. §1446(a), copies of all process and pleadings received by

Defendant Ryobi are attached hereto as Exhibit A (Summons, Track Assignment Notice, Civil

Case Information Statement and Complaint). There were no other process, pleadings or orders

served upon, or otherwise received by, Defendant Ryobi.

         12.      Pursuant to 28 U.S.C. §1446(a), copies of all process and pleadings received by

Defendant One World are attached hereto as Exhibit B (Summons, Track Assignment Notice,




                                                  3
ME1 36844744v.1
 Case 2:21-cv-14208-JXN-AME Document 1 Filed 07/27/21 Page 4 of 40 PageID: 4


Civil Case Information Statement and Complaint). There were no other process, pleadings or

orders served upon, or otherwise received by, Defendant One World.

        13.       Pursuant to 28 U.S.C. §1446(a), copies of all process and pleadings received by

Defendant Techtronic are attached hereto as Exhibit C (Summons, Track Assignment Notice,

Civil Case Information Statement and Complaint). There were no other process, pleadings or

orders served upon, or otherwise received by, Defendant Techtronic.

        14.       Copies of this Removal Petition are simultaneously being served upon counsel for

all parties of record and the State Court from which this action was removed.

        WHEREFORE, Defendants Techtronic Industries North America, Inc. and One World

Technologies, Inc., pray that this cause proceed in this Court as an action properly removed

thereto.

                                               Respectfully submitted,


                                               McCARTER & ENGLISH, LLP
                                               Attorneys for Defendants
                                                  Techtronic Industries North America, Inc. and
                                                  One World Technologies, Inc.


                                                     s/David R. Kott

                                               By:
                                                               David R. Kott
                                                               A Member of the Firm



Dated: July 27, 2021




                                                  4
ME1 36844744v.1
 Case 2:21-cv-14208-JXN-AME Document 1 Filed 07/27/21 Page 5 of 40 PageID: 5




                    EXHIBIT A




ME1 1355487v.1
          Case 2:21-cv-14208-JXN-AME Document 1 Filed 07/27/21 Page 6 of 40 PageID: 6




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 23526352
Notice of Service of Process                                                                            Date Processed: 07/23/2021

Primary Contact:           Mark A. Rowe
                           Techtronic Industries North America, Inc.
                           115 Innovation Way
                           Anderson, SC 29621-7664

Electronic copy provided to:                   Michele Dawkins

Entity:                                       Ryobi Technologies, Inc.
                                              Entity ID Number 2328713
Entity Served:                                Ryobi Technologies, Inc.
Title of Action:                              Anthony Rivieccio vs. Ryobi Technologies, Inc.
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Product Liability
Court/Agency:                                 Bergen County Superior Court, NJ
Case/Reference No:                            BER-L-003960-21
Jurisdiction Served:                          Delaware
Date Served on CSC:                           07/21/2021
Answer or Appearance Due:                     35 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Rosemarie Arnold
                                              201-461-1111

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
Case 2:21-cv-14208-JXN-AME Document 1 Filed 07/27/21 Page 7 of 40 PageID: 7



LAW OFFICES ROSEMARIE ARNOLD
1386 Palisade Avenue
Fort Lee, New Jersey 07024
(201) 461-1111
Attorneys for Plaintiff
Attorney ID No.: 034241986
1+iling .A.ttorney !li No.: U3776ZUI1
ANTHONY RIVIECCIO,                                SUPERIOR COURT OF NEW JERSEY
                                                  LAW DIVISION: BERGEN COUNTY
                      Plaintiff,
-against-                                         DOCKET NO.: BER-L-3960-21

RYOBI TECHNOLOGIES, INC.,                         CIVIL ACTION
TECHTRONIC INDUSTRIES NORTH
AMERICA, INC., ONE WORLD
TECHNOLOGIES, INC. and/or "ABC CORP.              SUMMONS
1-10" (last being a fictitious designation),

                       Defendants.


       THE STATE OF NEW JERSEY, TO THE ABOVE NAMED DEFENDANT:

                           -4 RYOBI TECHNOLOGIES, INC.
        THE Plaintiff, named above, has filed a lawsuit against you in the Superior Court of New
Jersey. The complaint attached to this summons states the basis for this lawsuit. If you dispute
this complaint, you or your attorney must file a written answer or motion and proof of service
with the deputy clerk of the Superior Court in the county listed above within thirty-five (35) days
after the service of the Summons and Complaint upon you, exclusive of the day of service. If the
complaint is one in foreclosure, then you must file your written answer to motion and proof of
service with the Clerk of the Superior Court, Hughes Justice Complex, P.O. Box 971, Trenton,
NJ 08625-0971. A filing fee payable to the Clerk of the Superior Court and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany
your answer or motion when it is filed. You must also send a copy of your answer or motion to
the plaintifFs attorney whose name and address appear above, or to the plaintiff, if no attorney is
named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $ 135.00 and completed Case Information Statement) if you want
the court to hear your defense.

        If you do not file and serve a written Answer or Motion within 35 days, the Court may
enter a Judgment against you for the relief plaintiff demands, plus interest and costs of suit. If
judgment is entered against you, the Sheriff may seize your money, wages or property to pay all
or part of the judgment.
Case 2:21-cv-14208-JXN-AME Document 1 Filed 07/27/21 Page 8 of 40 PageID: 8



        If you cannot afford to pay an attorney, call a Legal Services Office. An individual not
eligible for free legal assistance may obtain a referral to an attorney by calling a County Lawyer
Referral Service. These numbers may be listed in the yellow pages of your phone book or may
be obtain.ed by calling the New Jersey State Bar Association Lawyer Referral Service, toll free
(800) 792-8315 (within New Jersey) or (609) 394-1101 (from out of state). The phone number
for the county in which this action is pending are: Lawyer Referral Service (973) 622-6204,
Legal Service Office (973)624-4500.

Dated: June 18, 2021                            ~~ `3~~~~~ .~rowl"
                                               Michelle M. Smith



Name of Defendant: RYOBI TECHNOLOGIES, INC.
Address to be Served: 1428 Pearman Dairy Road, Anderson, South Carolina 29625
Case 2:21-cv-14208-JXN-AME    Document 1 Filed 07/27/21 Page 9 of 40 PageID: 9
      BER-L-003960-21 06/18/2021 3:29:59 PM Pg 1 of 7 Trans ID: LCV20211469765




 LAW OFFICES ROSEIVIARIE ARNOLD
 1386 Palisade Avenue
 Fort Lee, New Jersey 07024
 (201) 461-1111
 Attorneys for Plaintiff
 Attorney ID No.: 034241986
 Filing Attorney ID No.: 037762011

  ANTHONY RIVIECCIO,                                SUPERIOR COURT OF NEW JERSEY
                                                    LAW DIVISION: BERGEN COUNTY
                        Plaintiff,
  -against-                                         DOCKET NO.: BER-L-

  RYOBI TECHNOLOGIES, INC.,                         CIVIL ACTION
  TECHTRONIC INDUSTRIES NORTH
  AMERICA, INC., ONE WORLD
  TECHNOLOGIES, INC. and/or "ABC CORP               COMPLAINT AND JURY DEIVIAND
  1-10" (last being a fictitious designation),

                         Defendants.


         Plaintiff, ANTHONY RIVIECCIO, residing at 262 l ls' Street in the Borough of Palisades

  Park, County of Bergen, State of New Jersey, by way of Complaint against Defendants, says:

                                         FIRST COUNT

         1.     Upon information and belief, at all times hereinafter mentioned, Defendants,

  RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES NORTH AArIERICA, INC.,

  ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10" (Iast being a fictitious

  designation), were corporations doing business in the State of New Jersey, engaged in the design,
                                                                                         ,
  manufacture, supply, assembly, installation, maintenance, inspection, repair, packaging

  distribution, advertising, marketing and/or sale of a certain Ryobi 10 inch Table Saw with model

  number BTS l OS and its accompanying parts (hereinafter referred to as the "product").

         2.      On or about June 22, 2019, Plaintiff, ANTHONY RIVIECCIO, was caused to
                                                                                           negligent,
  become injured by the Ryobi 10 inch Table Saw with model number BTS l OS, due to the
Case 2:21-cv-14208-JXN-AME     Document
        BER-L-003960-21 06/18/2021 3:29:59 1
                                           PMFiled
                                              Pg 2 07/27/21    Page
                                                   of 7 Trans ID:    10 of 40 PageID: 10
                                                                  LCV20211469765




   careless, defective and/or hazardous design, manufacture, supply, assembly, installation,

   maintenance, inspection, repair, packaging, distribution, advertising, marketing and/or sale of said

   product.

           3.      Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

   NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10"

   (last being a fictitious designation), expressly and impliedly warranted to Plaintiff and persons

   such as Plaintiff that the aforesaid product was merchantable and fit for the use for which it was

   intended and are strictly liable in tort for any and all defects in the aforesaid product.

           4.      Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

   NORTH A1VlERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10"

   (last being a fictitious designation), owed a duty to Plaintiff and foreseeable users, such as Plaintiff,

   to exercise due care in designing, manufacturing, supplying, assembling, installing, maintaining,

   inspecting, repairing, packaging, distributing, advertising, marketing and/or selling the product

   involved in this actloII.

           5.      Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

   NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10"

   (last being a fictitious designation), knew or in the exercise of reasonable care should have known,

   that the product was (a) designed, manufactured, assembled, installed, maintained, inspected,

   repaired, packaged, distributed, advertised, marketed and/or sold in a condition inherently

   dangerous for its intended use; (b) failed to warn or give adequate notice of the method of assembly

   of the aforesaid product and/or that same was defectively designed and/or failed to warn of the

   hazardous design and inherent dangers of this product; (c) failed to otherwise exercise due care

   with respect to designing, manufacturing, supplying, assembling, installing, maintaining,
Case 2:21-cv-14208-JXN-AME     Document 1 Filed 07/27/21 Page 11 of 40 PageID: 11
                   0-21 06118/2021 3:29:59 PM Pg 3 of 7 Trans ID: LCV20211469765
        BER-L-00396




   inspecting, repairing, packaging, distributing, advertising, marketing and/or selling the product

   involved in this action.

          6.       Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

   NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10"

   Qast being a fictitious designation), breached their duty to Plaintiffand/or violated N.J.S.A. 2:58C-

   2 in that said Defendants:

          (a) designed, manufactured, assembled, supplied, packaged, instailed, maintained,

   inspected, distributed and/or sold the product with the aforementioned defects;

          (b) failed to warn or give adequate notice that the product was defectively designed;

          (c) faiied to otherwise exercise due care with respect to designing, manufacturing,

   assemblutg, supplying, packaging, installing, mai.ntaining, inspecting, distributing and/or selling

   the product involved in this action.

          7.       Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

   NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10"

   (last being a fictitious designation), knew, or in the exercise of reasonable care should have known,

   that the product was a dangerous instramentality if not properly designed, manufactured,

   packaged, tested, or inspected and that the product presented the probability of harm to any

   foreseeable users unless it was free from defects. Defendants, RYOBI TECHNOLOGIES, INC.,

   TECHTRONIC INDUSTRiES NORTH AMERICA, INC., ONE VtIORLD TECHNOLOGIES,

   INC. and/or "ABC CORP. 1-10" (last being a fictitious designation), had a duty to foreseeable

   users, and to Plaintiff in particular, to:

           (a) inspect and test the product that Defendants sold so as to determine whether it would

   be reasonably fit for its intended uses; and
Case 2:21-cv-14208-JXN-AME     Document
        BER-L-003960-21 06/18/2021 3:29:59 1PMFiled
                                               Pg 4 07/27/21    Page
                                                    of 7 Trans ID:    12 of 40 PageID: 12
                                                                   LCV20211469765




          (b) wam or give fair and adequate notice of the inherently dangerous condition existing as

   result of the negligent design, manufacture, assembly, supply, packaging, installation,

   maintenance, inspection, distribution and/or sale of the product.

          8.       Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

   NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10"

   (last being a fictitious designation), breached the duty and/or violated N.J.S.A. 2A:58C-2 described

   above in that said Defendants failed to warn Plaintiff of the inherently dangerous condition of the

   product and failed to inspect or test the product to determine whether it was reasonably fit for its

   intended use.

          9.       As a proximate cause and reasonably foreseeable result of Defendants, RYOBI

   TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES NORTH AMERICA, INC., ONE

   WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10" (last being a fictitious designation),

   negligent acts or omissions and/or strict liability the Plaintiff was caused to suffer and sustain

   severe, perpnanent and disabling injuries, both mental and physical, and has been and will be in

   the future compelled to spend great and diverse sums of money for medical aid and treatment, and

   has been and will be prevented from attending to his usual occupation, duties, activities and

   business.

         10.       As a proximate cause and reasonably foreseeable result of any and all of the

   foregoing acts and/or omissions, Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC

   INDUSTRIES NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC

   CORP. 1-10" (last being a fictitious designation), are strictly liable in tort pursuant to N.J.S.A.

   2A:58C-2
Case 2:21-cv-14208-JXN-AME     Document
        BER-L-003960-21 06/18/2021 3:29:59 1
                                           PM Filed 07/27/21
                                               Pg 5 of          Page
                                                       7 Trans ID:    13 of 40 PageID: 13
                                                                   LCV20211469765




           WHEREFORE, Plaintiff, ANTHONY RIVIECCIO, demands judgment against

   Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES NORTH

   AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP.1-10" (last being

   a fictitious designation), jointly, severally and/or jointly and severally, for damages, interest, costs

   of suit, and such other relief as the Court deems necessary and proper.

                                            SECOND COUNT

           1.      Plaintiff repeats the allegations contained all previous Counts of the Complaint as

   if set forth herein at length.

           2.      Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

   NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10"

   (last being a fictitious designation), expressly warranted that the product was merchantable, safely

   designed, and fit for the particular purpose for which it was produced, sold, and intended to be

   used. Plaintiff relied on those warranties when using the product in the manner which it was

   intended to be used.

          3.       Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

   NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or."ABC CORP. 1-10"

   (last being a fictitious designation), breached those express warranties in that the product was not

   safely designed, manufactured, supplied, assembled, installed, maintained, inspected, repaired,

   packaged, distributed, advertised, marketed and/or sold. In fact, the product in question was

   inherently dangerous in its design, manufacture, supply, assembly, installation, maintenance,

   inspection, repair, packaging, distribution, advertising, marketing and/or sale and was inherently

   dangerous for its intended use.

          4.        As a proximate cause and reasonably foreseeable result of Defendants, RYOBI
Case 2:21-cv-14208-JXN-AME     Document
        BER-L-003960-21 06/18/2021         1 Filed
                                   3:29:59 PM Pg 6 07/27/21    Page
                                                   of 7 Trans ID:    14 of 40 PageID: 14
                                                                  LCV20211469765




   TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES NORTH AMERICA, INC., ONE

   WORLD TECHNOLOGIES, INC. and/or "ABC CORP.1-10" (last being a fictitious designation),

   breach of the express warrranties described above, Plaintiffwas caused to suffer and sustain severe,

   permanent and disabling injuries, both mental and physical, and has been and will be in the future

   compelled to spend great and diverse sums of money for medical aid and treatment, and has been

   and will be prevented from attending to his usual occupation, duties, activities and business.

           RHEREFORE, Plaintiff, ANTHONY RIVIECCIO, demands judgment against

   Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES NORTH

   AMERICA, INC.; ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP.1-10" (last being

   a fictitious designation), jointly, severally and/or jointly aad severally, for damages, interest, costs

   of suit, and such other relief as the Court deems necessary and proper.

                                           THIItD COUNT

          1.      Plaintiff repeats each and every allegation contained in all previous Counts of the

   Complaint as if set forth herein at length.

          2.      Plaintiff, ANTHONY RIVIECCIO, is the intended third party beneficiary under a

   policy or policies of insurance held by Defendants herein for the payment of inedical expenses

   incurred as a result of the subject accident, regardless of fault.

          3.      Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

   NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP.1-10" (last

   being a fictitious designation), have failed to honor the provisions of said policy and have refused and

   continue to refuse to make payment of inedical expenses incurred as the result of the subject accident

   up to the limit of the policy provisions as aforesaid.
Case 2:21-cv-14208-JXN-AME    Document
       BER-L-003960-21 06/18/2021         1 Filed
                                  3:29:59 PM      07/27/21
                                             Pg 7 of          Page
                                                     7 Trans ID:             765
                                                                    15 of 40 PageID:
                                                                 LCV20211469         15




          WHEREFORE, Plaintiff, ANTHONY RiVIECCIO, demands judgment against

   Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES NORTH

   AIVIERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP.1-10" (last being

   a fictitious designation), jointly, severally and/or jointly and severally, for damages, interest, costs

   of suit, and such other relief as the Court deems necessary and proper.

                                               JURY_ DEMAND

           Plaintiff demands a trial by jury on all issues so triable.

                                DESIGNATION OF TRIAL COUNSEL

           Pursuant to Rule 4:25-4, Daniel S. Suh, Esq. is designated as trial counsel.

                                            CERTIFICATION

           I hereby certify that this matter is not the subject of any other action pending in any court

   or arbitration proceeding, that no such other action or arbitration proceeding is contemplated by

   the Plaintiff, and that there are no other parties, whom, to the knowledge of the Plaintifl's counsel,

   should be joined in this action.

           I hereby certify that the foregoing statements made by me are true. I am aware that if any

   of the foregoing statements made by me are willfully false, I am subject to punishment.



                                                   LAW OFFICES ROSEMARIE ARNOLD
                                                   Attomeys for Plaintiff

                                                   P'l~'~O.' QU
                                                   Daniel S. Suh
   Dated: June 15, 2021
Case 2:21-cv-14208-JXN-AME Document 1 Filed 07/27/21 Page 16 of 40 PageID: 16
           BER-L-003960-21 06/18/2021 3:29:59 PM Pg 1 of 1 Trans ID: LCV20211469765




                          Civil Case Information Statement
   Case Details: BERGEN I Civil Part Docket# L-003960-21                                             -

  Case Caption: RIVIECCIO ANTHONY VS RYOBI                         Case Type: PRODUCT LIABILITY
  TECHNOLOGIES, INC.                                               Document Type: Compiaint with Jury Demand
  Case Initiation Date: 06/18/2021                                 Jury Demand: YES -12 JURORS
  Attomey Name: DANIEL S SUH                                       Is this a professional malpractice case? NO
  Firm Name: ROSEMARIE ARNOLD                                      Related cases pending: NO
  Address: 1386 PALISADE AVE                                       If yes, list docket numbers:
  FORT LEE NJ 07024                                                Do you anticipate adding any parties (arising out of same
  Phone:2014611111                                                 transaction or occurrence)? NO
  Name of Party: PLAINTIFF : Rivieccio, Anthony
                                                                   Are sexual abuse ciaims alleged by: Anthony Rivieccio? NO
  Name of Defendant's Primary Insurance Company
  (if known): Unknown



                _ MATION PROVIDED ON THIS FORM CANNOT BE IINTRODUCED INTO EVIDENCE
        THE INFOR
                        CASE CHARACTERISTICS FOR PURPOSES GF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




  Do parties have a current, past, or recurrent relationship? NO
  If yes, is that relationship:
  Does the statute governing this case provide for payment of fees by the losing party? NO
  Use this space to alert the court to any special case characteristics that may warrant individual
  management or accelerated disposition:


  Do you or your client need any disability accommodations? NO
         If yes, please identify the requested accommodation:


  Will an interpreter be needed? NO
           If yes, for what language:


  Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO



  I certify that confidential personal identifiers have been redacted from documents now submitted to the
  court, and will be redacted from all documents submitted in the future in accordance with Ru/e 1:38-7(b)

  06/18/2021                                                                                                /s/ DANIEL S SUH
  Dated                                                                                                                Signed
Case 2:21-cv-14208-JXN-AME Document 1 Filed 07/27/21 Page 17 of 40 PageID: 17




                    EXHIBIT B




ME1 1355487v.1
          Case 2:21-cv-14208-JXN-AME Document 1 Filed 07/27/21 Page 18 of 40 PageID: 18




                                                                                                                        KN4 / ALL
                                                                                                     Transmittal Number: 23527495
Notice of Service of Process                                                                            Date Processed: 07/23/2021

Primary Contact:           Mark A. Rowe
                           Techtronic Industries North America, Inc.
                           115 Innovation Way
                           Anderson, SC 29621-7664

Electronic copy provided to:                   Michele Dawkins

Entity:                                       One World Technologies, Inc.
                                              Entity ID Number 2005434
Entity Served:                                One World Technologies, Inc.
Title of Action:                              Anthony Rivieccio vs. Ryobi Technologies, Inc.
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Personal Injury
Court/Agency:                                 Bergen County Superior Court, NJ
Case/Reference No:                            BER-L-003960-21
Jurisdiction Served:                          Delaware
Date Served on CSC:                           07/21/2021
Answer or Appearance Due:                     35 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Daniel S. Suh
                                              201-461-1111

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
            Case 2:21-cv-14208-JXN-AME Document 1 Filed 07/27/21 Page 19 of 40 PageID: 19
,   A   ~




             LAW OFFICES ROSEMARIE ARNOLD
             1386 Palisade Avenue
             Fort Lee, New Jersey 07024
             (201) 461-1111
             Attorneys for Plaintiff
             Attorney ID No.: 034241986
                             ID No.: 037762011
             ANTHONY RIVIECCIO,                                         COURT OF NEW JERSEY
                                                               LAW DIVISION: BERGEN COUNTY
                                    Plaintiff,
             -against-                                         DOCKET NO.: BER-L-3960-21

             RYOBI TECHNOLOGIES, INC.,                         CIVIL ACTION
             TECHTRONIC INDUSTRIES NORTH
             AMERICA, INC., ONE WORLD
             TECHNOLOGIES, INC. and/or "ABC CORP:              SUMMONS
             1-10" (last being a fictitious designation),

                                    Defendants.


                    THE STATE OF NEW JERSEY, TO THE ABOVE NAMED DEFENDANT:

                                ~        ONE WORLD TECHNOLOGIES, INC.

                    THE Plaintiff, named above, has filed a lawsuit against you in the Superior Court of New
            Jersey. The complaint attached to this summons states the basis for this lawsuit. If you dispute
            this complaint, you or your attomey must file a written answer or motion and proof of service
            with the deputy clerk of the Superior Court in the county listed above within thirty-five (35) days
            after the-service of the Summons and Complaint upon you, exclusive of the day of service. If the
            complaint is one in foreclosure, then you must file your written answer to motion and proof of
            service with the Clerk of the Superior Court, Hughes Justice Complex, P.O. Box 971, Trenton,
            NJ 08625-0971. A filing fee payable to the Clerk of the Superior Court and a completed Case
            Information Statement (available from the deputy clerk of the Superior Court) must accompany
            your answer or motion when it is filed. You must also send a copy of your answer or motion to
            the plaintiffls attorney whose name and address appear above, or to the plaintiff, if no attorney is
            named above. A telephone call will not protect your rights; you must file and serve a written
            answer or motion (with fee of $ 135.00 and completed Case Information Statement) if you want
            the court to hear your defense.

                    If you do not file and serve a written Answer or Motion within 35 days, the Court may
            enter a Judgment against you for the relief plaintiff demands, plus interest and costs of suit. If
            judgment is entered against you, the Sheriff may seize your money, wages or property to pay all
            or part of the judgment.
Case 2:21-cv-14208-JXN-AME Document 1 Filed 07/27/21 Page 20 of 40 PageID: 20



        If you cannot afford to pay an attomey, call a Legal Services Office. An individual not
eligible for free legal assistance may obtain a referral to an attorney by calling a County Lawyer
Referral Service. These numbers may be listed in the yellow pages of your phone book or may
be obtained by calling the New Jersey State Bar Association Lawyer Referral Service, toll free
(800) 792-8315 (within New Jersey) or (609) 394-1101 (from out of state). The phone number
for the county in which this action is pending are: Lawyer Referral Service (973) 622-6204,
Legal Service Office (973)624-4500.

Dated: June 18, 2021                            (W/ -'%ale~~
                                               Michelle M. Smith



Name of Defendant: ONE WORLD TECHNOLOGIES, INC.
Address to be Served: 100 Innovation Way, Anderson, South Carolina 29621
Case 2:21-cv-14208-JXN-AME    Document 1 Filed 07/27/21 Page 21 of 40 PageID: 21
               3960-21 06/18/2021 3:29:59 PM Pg 1 of 7 Trans ID: LC1/20211469765
        BER-L-00




  LAW OFFICES ROSEMARIE ARNOLD
  1386 Palisade Avenue
  Fort Lee, New Jersey 07024
  (201) 461-1111
  Attorneys for Plaintiff
  Attorney ID No.: 034241986
  Filing Attorney ID No.: 037762011

                                                     SIJPERIOR COURT OF NEW JERSEY
                                                     LAW DIVISION: BERGEN COUNTY
                         Plaintiff,
   -against-                                         DOCKET NO.: BERL-

   RYOBI TECHNOLOGIES, INC.,                         CIVIL ACTION
   TECHTRONIC INDUSTRIES NORTH
   AMERICA, INC., ONE WORLD
   TECHNOLOGIES, INC. and/or "ABC CORP.              COMPLAIlYT AND JURY DEMAND
   1-10" (last being a fictitious designation),
                          Defendants.


          Plaintiff, ANTHONY RIVIECCIO, residing at 26211'h Street in the Borough of Palisades

   Park, County of Bergen, State of New Jersey, by way of Complaint against Defendants, says:
                                          FIRST COUNT

          1.     Upon information and belief, at all times hereinafter mentioned, Defendants,
                                                                  INC.,
   RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES NORTH AMERICA,

   ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10" (last being a fictitious

   designation), were cozporations doing business in the State of New Jersey, engaged in the design,
                                                                                           ,
   manufacture, supply, assembly, installation, maintenance, inspection, repair, packaging

   distribution, advertising, marketing and/or sale of a certain Ryobi 10 inch Table Saw with model

   number BTS lOS and its accompanying parts (hereinafter referred to as the "product").

          2.      On or about June 22, 2019, Plaintiff, ANTHONY RIVIECCIO, was caused to
                                                                                                   ,
   become injured by the Ryobi 10 inch Table Saw with model number BTS l OS, due to the negligent
Case 2:21-cv-14208-JXN-AME    Document
       BER-L-003960-21 06/18/2021 3:29:59 1
                                          PMFiled
                                             Pg 2 07/27/21    Page
                                                  of 7 Trans ID:    22 of 40 PageID: 22
                                                                 LCV20211469765




   careless, defective and/or hazardous design, manufacture, supply, assembly, installation,

   maintenance, inspection, repair, packaging, distnibution, advertising, marketing and/or sale of said

   product.

           3.      Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

   NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10"

   (last being a fictitious designation), expressly and impliedly warranted to Plaintiff and persons

   such as Plaintiff that the aforesaid product was merchantable and fit for the use for which it was

   intended and are sthictly liable in tort for any and all defects in the aforesaid product.

           4.      Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

   NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10"

   (last being a fictitious designation), owed a duty to Plaintiff and foreseeable users, such as Plaintiff,

   to exercise due care in designing, manufacturing, supplying, assembling, installing, maintaining,

   inspecting, repairing, packaging, distributing, advertising, marketing and/or selling the product

   involved in this action.

           5.      Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

 , NORTH AMERICA, INC., ONE VVORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10"

   (last being a fictitious designation), knew or in the exercise of reasonable care should have known,

   that the product was (a) designed, manufactured, assembled, installed, maintained, inspected,

   repaired, packaged, distributed, advertised, marketed and/or sold in a condition inherently

   dangerous for its intended use; (b) failed to wam or give adequate notice of the method of assembly

   of the aforesaid product and/or that same was defectively designed and/or failed to warn of the

   hazardous design and inherent dangers of this product; (c) failed to otherwise exercise due care

   with respect to designing, manufacturing, supplying, assembling, installing, maintaining,
Case 2:21-cv-14208-JXN-AME     Document 1 Filed 07/27/21 Page 23 of 40 PageID: 23
        BER-L-003960-21 06/18/2021 3:29:59 PM Pg 3 of 7 Trans ID: LCV20211469765




   inspecting, repairing, packaging, distributing, advertising, marketing and/or selling the product

   involved in this action.

          6.      Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

   NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10"

   (last being a fictitious designation), breached their duty to Plaintiff and/or violated N.J.S.A. 2:58C-

   2 in that said Defendants:

          (a) designed, manufactured, assembled, supplied, packaged, installed, maintained,

   inspected, distributed and/or sold the product with the aforementioned defects;

          (b)failed to wam or give adequate notice that the product was defectively designed;

          (c) failed to otherwise exercise due care with respect to designing, manufacturing,

   assembling, supplying, packaging, installing, maintaining, inspecting, distributing and/or selling

   the product involved in this action.

          7.      Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

   NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10"

   (last being a fictitious designation), lmew, or in the exercise of reasonable care should have known,

   that the product was a dangerous instrumentality if not properly designed, manufactured,

   packaged, tested, or inspected and that the product presented the probability of harm to any

   foreseeable users unless it was free from defects. Defendants, RYOBI TECHNOLOGIES, INC.,

   TECHTRONIC INDUSTRIES NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES,

   INC. and/or "ABC CORP. 1-10" (last being a fictitious designation), had a duty to foreseeable

   users, and to Plaintiffin particular, to:

           (a) inspect and test the product that Defendants sold so as to determine whether it would

   be reasonably fit for its intended uses; and
Case 2:21-cv-14208-JXN-AME     Document
        BER-L-003960-21 06/18/2021 3:29:59 1
                                           PMFiled
                                              Pg 4 07/27/21    Page
                                                   of 7 Trans ID:    24 of 40 PageID: 24
                                                                  LCV20211469765




          (b) warn or give fair and adequate notice of the inherently dangerous condition existing as

   result of the negligent design, manufacture, assembly, supply, packaging, installation,

   maintenance, inspection, distribution and/or sale of the product.

          8.       Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

   NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10"

   (last being a fictitious designation), breached the duty and/or violated N.J.S.A. 2A:58C-2 described

   above in that said Defendants failed to warn Plaintiff of the inherently dangerous condition of the

   product and failed to inspect or test the product to determine whether it was reasonably fit for its

   intended use.

          9.       As a proxinzate cause and reasonably foreseeable result of Defendants, RYOBI

   TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES NORTH AMERICA, INC., ONE

   WORLD TECHNOLOGIES, INC. and/or "ABC CORP.1-10" (last being a fictitious designation),

   negligent acts or omissions and/or strict liability the Plaintiff was caused to suffer and sustain

   severe, permanent and disabling injuries, both mental and physical, and has been and will be in

   the future compelled to spend great and diverse sums of money for medical aid and treatment, and

   has been and will be prevented from attending to his usual occupation, duties, activities and

   business.

         10.       As a proximate cause and reasonably foreseeable result of any and all of the

   foregoing acts and/or omissions, Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC

   INDUSTRIES NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC

   CORP. 1-10" (last being a fictitious designation), are strictly liable in tort pursuant to N.J.S.A.

   2A:58C-2
Case 2:21-cv-14208-JXN-AME    Document
       BER-L-003960-21 06/18/2021         1 Filed
                                  3:29:59 PM      07/27/21
                                             Pg 5 of          Page
                                                     7 Trans ID:    25 of 40 PageID: 25
                                                                 LCV20211469765




           WHEREFORE, Plaintiff, ANTHONY RIVIECCIO, demands judgment against

   Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES NORTH

   AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP.1-10" (last being

   a fictitious designation), jointly, severally and/or jointly and severally, for damages, interest, costs

   of suit, and such other relief as the Court deems necessary and proper.

                                            SECOND COUNT

           1.      Plaintiff repeats the allegations contained aIl previous Counts of the Complaint as

   if set forth herein at length.

           2.      Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

   NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10"

   (last being a fictitious designation), expressly warranted that the product was merchantable, safely

   designed, and fit for the particular purpose for which it was produced, sold, and intended to be

   used. Plaintiff relied on those warranties when using the product in the manner which it was

   intended to be used.

          3.       Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

  NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or. "ABC CORP. 1-10"

  (last being a fictitious designation), breached those express warranties in that the product was not

  safely designed, manufactured, supplied, assembled, installed, maintained, inspected, repaired,

  packaged, distributed, advertised, marketed and/or sold. In fact, the product in question was

  inherently dangerous in its design, manufacture, supply, assembly, installation, maintenance,

  inspection, repair, packaging, distribution, advertising, marketing and/or sale and was inherently

  dangerous for its intended use.

          4.        As a proximate cause and reasonably foreseeable result of Defendants, RYOBI
• Case 2:21-cv-14208-JXN-AME    Document
         BER-L-003960-21 06/18/2021 3:29:59 1
                                            PMFiled
                                               Pg 6 07/27/21    Page
                                                    of 7 Trans ID:    26 of 40 PageID: 26
                                                                   LCV20211469765




     TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES NORTH AMERICA, INC., ONE

     WORLD TECHNOLOGIES, INC. and/or "ABC CORP.1-10" (last being a fictitious designation),

     breach of the express warranties described above, Plaintiffwas caused to suffer and sustain severe,

     permanent and disabling injuries, both mental and physical, and has been and will be in the future

     compelled to spend great and diverse sums of money for medical aid and treatment, and has been

     and will be prevented from attending to his usual occupation, duties, activities and business.

             WHEREFORE, Plaintiff, ANTHONY RIVIECCIO, demands judgment against

     Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES NORTH

     AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP.1-10" (last being

     a fictitious designation), jointly, severally and/or jointly and severally, for damages, interest, costs

     of suit, and such other relief as the Court deems necessary and proper.

                                            TFdII2D COUNT                                                       ;

            1.      Plaintiff repeats each and every allegation contained in a11 previous Counts of the         '

     Complaint as if set forth herein at length.

            2.      Plaintiff, ANTHONY RIVIECCIO, is the intended third party beneficiary under a

    policy or policies of insurance held by Defendants herein for the payment of inedical expenses

    incurred as a result of the subject accident, regardless of fault.

            3.      Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

    NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP.1-10" (last

    being a fictitious designation), have failed to honor the provisions of said policy and have refused and

    continue to refuse to make payment of inedical expenses incurred as the result of the subject accident

    up to the limit of the policy provisions as aforesaid.
. Case 2:21-cv-14208-JXN-AME    Document
         BER-L-003960-21 06/18/2021         1 Filed
                                    3:29:59 PM      07/27/21
                                               Pg 7 of          Page
                                                       7 Trans ID:    27 of 40 PageID:
                                                                   LCV202114697 65     27




            WHEREFORE, Plaintiff, ANTHONY RIVIECCIO, demands judgment against ,

     Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES NORTH

     AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP.1-10" (last.being

     a fictitious designation), jointly, severally and/or jointly and severally, for damages, interest, costs

     of suit, and such other relief as the Court deems necessary and proper.

                                                 JURY DEMAND

             Plaintiff demands a trial by jury on all issues so triable.

                                  DESIGNATION OF TRIAL COUNSEL

             Pursuant to Rule 4:25-4, Daniel S. Suh, Esq. is designated as trial counsel.

                                              CERTII+'ICATION

             I hereby certify that this matter is not the subject of any other action pending in any court

     or arbitration proceeding, that no such other actian or arbitration proceeding is contemplated by

     the Plaintiff, and that there are no other parties, whom, to the knowledge of the Plaintiff's counsel,

     should be joined in this action.
                                                                                                                r
             I hereby certify that the foregoing statements made by me are true. I am aware that if any

     ofthe foregoing statements made by me are willfully false, I am subject to punishment.



                                                     LAW OFFICES ROSEMARIE ARNOLD
                                                     Attomeys for Plaintiff

                                                     pI/~'~0.1(AA
                                                     Daniel S. Suh
     Dated: June 15, 2021
        Case 2:21-cv-14208-JXN-AME Document 1 Filed 07/27/21 Page 28 of 40 PageID: 28
                                                               LCV20211469765
.   '              BER-L-003960-21 06/18/2021 3:29:59 PM Pg 1 of 1 Trans ID:




                                  Civil Case Informati®n Statement
           Case Details: BERGEN I Civil Part Docket# L-003960-21

          Case Caption: RIVIECCIO ANTHONY VS RYOBI                         Case Type: PRODUCT LIABILiTY
          TECHNOLOGIES, INC.                                               Document Type: Complaint with Jury Demand
          Case Initiation Date: 06/18/2021                                 Jury Demand: YES -12 JURORS
          Attorney Name: DANIEL S SUH                                      Is this a professional malpractice case? NO
          Firm Name: ROSEMARIE ARNOLD                                      Related cases pending: NO
          Address: 1386 PALISADE AVE                                       ff yes, list docket numbers:
          FORT LEE NJ 07024                                                Do you anticipate adding any parties (arising out of same
          Phone:2014611111                                                 transaction or occurrence)? NO
          Name of Party: PLAINTIFF : Rivieccio, Anthony
                                                                           Are sexual abuse claims alleged by: Anthony Rivieccio? NO
          Name of Defendant's Primary Insurance Company
          (if known): Unknown



                THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                                CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




          Do parties have a current, past, or recurrent relationship? NO
          If yes, is that relationship:
          Does the statute governing this case provide for payment of fees by the losing party? NO
          Use this space to alert the court to any special case characteristics that rnay warrant individual
          management or accelerated disposition:



          Do you or your client need any disability accommodations? NO
                 If yes, please identify the requested accommodation:



          Will an interpreter be needed? NO
                   If yes, for what language:


          Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO



          I certify that confidential personal identifiers have been redacted from documents now submitted to the
          court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

          06/18/2021                                                                                                /s/ DANIEL S SUH
          Dated                                                                                                                Signed
Case 2:21-cv-14208-JXN-AME Document 1 Filed 07/27/21 Page 29 of 40 PageID: 29




                    EXHIBIT C




ME1 1355487v.1
          Case 2:21-cv-14208-JXN-AME Document 1 Filed 07/27/21 Page 30 of 40 PageID: 30




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 23526281
Notice of Service of Process                                                                            Date Processed: 07/23/2021

Primary Contact:           Mark A. Rowe
                           Techtronic Industries North America, Inc.
                           115 Innovation Way
                           Anderson, SC 29621-7664

Electronic copy provided to:                   Michele Dawkins

Entity:                                       Techtronic Industries North America, Inc.
                                              Entity ID Number 2193062
Entity Served:                                Techtronic Industries North America, Inc.
Title of Action:                              Anthony Rivieccio vs. Ryobi Technologies, Inc.
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Product Liability
Court/Agency:                                 Bergen County Superior Court, NJ
Case/Reference No:                            BER-L-003960-21
Jurisdiction Served:                          Delaware
Date Served on CSC:                           07/21/2021
Answer or Appearance Due:                     35 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Rosemarie Arnold
                                              201-461-1111

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
Case 2:21-cv-14208-JXN-AME Document 1 Filed 07/27/21 Page 31 of 40 PageID: 31



 LAW OFFICES ROSEMARIE ARNOLD
 1386 Palisade Avenue
 Fort Lee, New Jersey 07024
 (201) 461-1111
 Attorneys for Plaintiff
 Attorney ID No.: 034241986
                 ID No.:,
 ANTHONY                                           SUPERIOR COURT OF NEW JERSEY
                                                   LAW DIVISION: BERGEN COUNTY
                       Plaintiff,
 -against-                                         DOCKET NO.: BER-L-3960-21

 RYOBI TECHNOLOGIES, INC.,                         CIVIL ACTION
 TECHTRONIC INDUSTRIES NORTH
 AMERICA, INC., ONE WORLD
 TECHNOLOGIES, INC. and/or "ABC CORP.              SUNIMONS
 1-10" (last being a fictitious designation),

                        Defendants.


        THE STATE OF NEW JERSEY, TO THE ABOVE NAMED DEFENDANT:

              =. TECHTRONIC INDUSTRIES NORTH AMERICA, INC.

         THE Plaintiff, named above, has filed a lawsuit against you in the Superior Court of New
 Jersey. The complaint attached to this summons states the basis for this lawsuit. If you dispute
 this complaint, you or your attorney must file a written answer or motion and proof of service
 with the deputy clerk of the Superior Court in the county listed above within thirty-five (35) days
 after the service of the Summons and Complaint upon you, exclusive of the day of service. If the
 complaint is one in foreclosure, then you must file your written answer to motion and proof of
 service with the Clerk of the Superior Court, Hughes Justice Complex, P.O. Box 971, Trenton,
 NJ 08625-0971. A filing fee payable to the Clerk of the Superior Court and a completed Case
 Information Statement (available from the deputy clerk of the Superior Court) must accompany
 your answer or motion when it is filed. You must also send a copy of your answer or motion to
 the plaintiff s attorney whose name and address appear above, or to the plaintiff, if no attorney is
 named above. A telephone call will not protect your rights; you must file and serve a written
 answer or motion (with fee of $ 135.00 and completed Case Information Statement) if you want
 the court to hear your defense.

         If you do not file and serve a written Answer or Motion within 35 days, the Court may
 enter a Judgment against you for the relief plaintiff demands, plus interest and costs of suit. If
 judgment is entered against you, the Sheriff may seize your money, wages or property to pay all
 or part of the judgment.
Case 2:21-cv-14208-JXN-AME Document 1 Filed 07/27/21 Page 32 of 40 PageID: 32



         If you cannot afford to pay an attorney, call a Legal Services Office. An individual not
 eligible for free legal assistance may obtain a referral to an attorney by calling a County Lawyer
 Referral Service. These numbers may be listed in the yellow pages of your phone book or may
 be obtained by calling the New Jersey State Bar Association Lawyer Referral Service, toll free
 (800) 792-8315 (within New Jersey) or (609) 394-1101 (from out of state). The phone number
 for the county in which this action is pending are: Lawyer Referral Service (973) 622-6204,
 Legal Service Office (973)624-4500.

 Dated: June 18, 2021
                                                Michelle M. Smith



 Name of Defendant: TECHTRONIC INDUSTRIES NORTH AMERICA, INC.
 Address to be Served: 450 East Las Olas Boulevard, Suite 1500, Fort Lauderdale,
                       Florida 33301
Case 2:21-cv-14208-JXN-AME     Document 1 Filed 07/27/21 Page 33 of 40 PageID: 33
        BER-L-003960-21 06/18/2021 3:29:59 PM Pg 1 of 7 Trans ID: LCV20211469765




  LAW OFFICES ROSF.MARIE ARNOLD
  1386 Palisade Avenue
  Fort Lee, New Jersey 07024
  (201) 461-1111
  Attorneys for Plaintiff
  Attorney ID No.: 034241986
  Filing Attorney ID No.: 037762011

    ANTHONY RIVIECCIO,                               SUPERIOR COURT OF NEW JERSEY
                                                     LAW DIVISION: BERGEN COUNTY
                         Plaintiff,
    -against-                                        DOCKET NO.: BER-L-

    RYOBI TECHNOLOGIES, INC.,                        CIVIL ACTION
    TECIITRONIC INDUSTRIES NORTH
    AIVIERICA, INC., ONE WORLD
    TECHNOLOGIES, INC. and/or "ABC CORP              COMPLAINT AND JURY DEIVIAND
    1-10" (last being a fictitious designation),

                          Defendants.


          Plaintiff, ANTHONY RIVIECCIO, residing at 262 l ls' Street in the Borough of Palisades

   Park, County of Bergen, State of New Jersey, by way of Complaint against Defendants, says:

                                          FIRST COUNT

          1.     Upon information and belief, at all times hereinafter mentioned, Defendants,

   RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES NORTH AIVIERICA, INC.,

   ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10" (last being a fictitious

   designation), were corporateons doing business in the State of New Jersey, engaged in the design,

   manufacture, supply, assembly, installation, maintenance, inspection, repair, packaging,

   distribution, advertising, marketing and/or sale of a certain Ryobi 10 inch Table Saw with model

   number BTS10S and its accompanying parts (hereina$er referred to as the "product").

           2.     On or about June 22, 2019, Plaintiff, ANTHONY RIVIECCIO, was caused to

   become injured by the Ryobi 10 inch Table Saw with model number BTS l OS, due to the negligent,
Case 2:21-cv-14208-JXN-AME     Document
        BER-L-003960-21 06/18/2021 3:29:59 1PMFiled
                                               Pg 2 07/27/21    Page
                                                    of 7 Trans ID:    34 of 40 PageID: 34
                                                                   LCV20211469765




   careless, defective and/or hazardous design, manufacture, supply, assembly, installation,

   maintenance, inspection, repair, packaging, distribution, advertising, marketing and/or sale of said

   product.

           3.      Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

   NORTH AIVIBRICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10"

   (last being a fictitious designation), expressly and impliedly warranted to Plaintiff and persons

   such as Plaintiff that the aforesaid product was merchantable and fit for the use for which it was

   intended and are strictly liable in tort for any and all defects in the aforesaid product.

           4.      Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

   NORTH ANIERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10"

   (last being a fictitious designation), owed a duty to Plaintiff and foreseeable users, such as Plaintiff,

   to exercise due care in designing, manufacturing, supplying, assembling, installing, maintaining,

   inspecting, repairing, packaging, distributing, advertising, marketing and/or selling the product

   involved in th.is action.

           5.      Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

   NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10"

   (last being a fictitious designation), knew or in the exercise of reasonable care should have known,

   that the product was (a) designed, manufactured, assembled, installed, maintained, inspected,

   repaired, packaged, distributed, advertised, marketed and/or sold in a condition inherently

   dangerous for its intended use; (b) failed to warn or give adequate notice of the method of assembly

   of the aforesaid product and/or that same was defectively designed and/or failed to warn of the

   hazardous design and inherent dangers of this product; (c) failed to otherwise exercise due care

   with respect to designing, manufacturing, supplying, assembling, installing, maintaining,
Case 2:21-cv-14208-JXN-AME     Document
        BER-L-003960-21 06/18/2021 3:29:59 1
                                           PMFiled
                                              Pg 3 07/27/21    Page
                                                   of 7 Trans ID:    35 of 40 PageID:
                                                                  LCV20211469 765     35




    inspecting, repairing, packaging, distributing, advertising, marketing and/or selling the product

   involved in this action.

           6.       Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

   NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10"

   (last being a fictitious designation), breached their duty to Plaintiffand/or violated N.J.S.A. 2:58C-

    2 in that said Defendants:

           (a) designed, manufactured, assembled, supplied, packaged, installed, maintained,

    inspected, distributed and/or sold the product with the aforementioned defects;

           (b) failed to wam or give adequate notice that the product was defectively designed;

           (c) failed to otherwise exercise due care with respect to designing, manufacturing,

    assembling, supplying, packaging, installing, maintaining, inspecting, distributing and/or selling

    the product involved in this action.

            7.      Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

    NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10"

    (last being a fictitious designation), knew, or in the exercise of reasonable care should have known,

.- that the product was a dangerous instrumentality if not properly designed, manufactured,

    packaged, tested, or inspected and that the product presented the probability of harm to any

    foreseeable users unless it was free from defects. Defendants, RYOBI TECHNOLOGIES, INC.,

    TECHTRONIC INDUSTRIES NORTH AIVIERICA, INC., ONE WORLD TECHNOLOGIES,

    INC. and/or "ABC CORP. 1-10" (last being a fictitious designation), had a duty to foreseeable

    users, and to Plaintiff in particular, to:

            (a) inspect and test the product that Defendants sold so as to detenmine whether it would

    be reasonably fit for its intended uses; and
Case 2:21-cv-14208-JXN-AME     Document
        BER-L-003960-21 06/18/2021 3:29:59 1PMFiled
                                               Pg 4 07/27/21    Page
                                                    of 7 Trans ID:    36 of 40 PageID: 36
                                                                   LCV20211469765




          (b) warn or give fair and adequate notice of the inherently dangerous condition existing as

   result of the negligent design, manufacture, assembly, supply, packaging, installation,

   maintenance, inspection, distribution and/or sale of the product.

          8.       Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

   NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10"

   (last being a fictitious designation), breached the duty and/or violated N.J.S.A. 2A:58C-2 described

   above in that said Defendants failed to warn Plaintiff of the inherently dangerous condition of the

   product and failed to inspect or test the product to determine whether it was reasonably fit for its

   intended use.

          9.       As a proximate cause and reasonably foreseeable result of Defendants, RYOBI

   TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES NORTH AMERICA, INC., ONE

   WORLD TECHNOLOGIES, INC. and/or "ABC CORP.1-10" (last being a fictitious designation),

   negligent acts or omissions and/or strict liability the Plaintiff was caused to suffer and sustain

   severe, permanent and disabling injuries, both mental and physical, and has been and will be in

   the fature compelled to spend great and diverse sums of money for medical aid and treatment, and

   has been and will be prevented from attending to his usual occupation, duties, activities and

   business.

         10.       As a proximate cause and reasonably foreseeable result of any and all of the

   foregoing acts and/or omissions, Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC

   INDUSTRIES NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC

   CORP. 1-10" (last being a fictitious designation), are strictly liable in tort pursuant to N.J.S.A.

   2A:58C-2
Case 2:21-cv-14208-JXN-AME    Document
       BER-L-003960-21 06/18/2021         1 Filed
                                  3:29:59 PM Pg 5 07/27/21    Page
                                                  of 7 Trans ID:    37 of 40 PageID: 37
                                                                 LCV20211469765




           WHEREFORE, Plaintiff, ANTHONY RIVIECCIO, demands judgment against

   Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES NORTH

   AIVIERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP.1-10" (last being

   a fictitious designation), jointly, severally and/or jointly and severally, for damages, interest, costs

   of suit, and such other relief as the Court deems necessary and proper.

                                            SECOND COUNT

           1.      Plaintiff repeats the allegations contained all previous Counts of the Complaint as

   if set fort.h herein at length.

           2.      Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

   NORTH AIVIERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP. 1-10"

   (last being a fictitious designation), expressly warranted that the product was merchantable, safely

   designed, and fit for the particular purpose for which it was produced, sold, and intended to be

   used. Plaintiff relied on those warranties when using the product in the manner which it was

   intended to be used.

           3.      Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

  NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or. °`ABC CORP. 1-10"

  (last being a ffctitlous designation), breached those express warranties in that the product was not

  safely designed, manufactured, supplied, assembled, installed, maintained, inspected, repaired,

  packaged, distributed, advertised, marketed and/or sold. In fact, the product in question was

  inherently dangerous in its design, manufacture, supply, assembly, installation, maintenance,

  inspection, repair, packaging, distribution, advertising, marketing and/or sale and was inherently

  dangerous for its intended use.

          4.        As a proximate cause and reasonably foreseeable result of Defendants, RYOBI
Case 2:21-cv-14208-JXN-AME     Document
        BER-L-003960-21 06/18/2021 3:29:59 1
                                           PMFiled
                                              Pg 6 07/27/21    Page
                                                   of 7 Trans ID:    38 of 40 PageID: 38
                                                                  LCV20211469765




   TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES NORTH AIVIERICA, INC., ONE

   WORLD TECHNOLOGIES, INC. and/or "ABC CORP.1-10" (last being a fictitious designation),

   breach of the express warranties described above, Plaintiff was caused to suffer and sustain severe,

   permanent and disabling injuries, both mental and physical, and has been and will be in the future

   compelled to spend great and diverse sums of money for medical aid and treatment, and has been

   and will be prevented from attending to his usual occupation, duties, activities and business.

           WHEREFORE, Plaintiff, ANTHONY RIVIECCIO, demands judgment against

   Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES NORTH

   AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP.1-10" (Iast being

   a fictitious designation), jointly, severally and/or jointly and severally, for damages, interest, costs

   of suit, and such other relief as the Court deems necessary and proper.

                                           THIRD COUIVT

           1.      Plaintiff repeats each and every allegation contained in all previous Counts of the

   Complaint as if set forth herein at length.

           2.      Plaintiff, ANTHONY RIVIECCIO, is the intended third party beneficiary under a

   policy or policies of insurance held by Defendants herein for the payment of inedical expenses

   incurred as a result of the subject accident, regardless of fault.

          3.      Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES

   NORTH AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP.1-10" (last

   being a fictitious designation), have failed to honor the provisions of said policy and have refused and

  continue to refuse to make payment of inedicai expenses incurred as the result of the subject accident

   up to the limit of the policy provisions as aforesaid.
Case 2:21-cv-14208-JXN-AME    Document
       BER-L-003960-21 06/18/2021         1 Filed
                                  3:29:59 PM      07/27/21
                                             Pg 7 of          Page
                                                     7 Trans ID:    39 of 40 PageID: 39
                                                                 LCV20211469765




          WHEItEFORE, Plaintiff, ANTHONY RIVIECCIO, demands judgment against

   Defendants, RYOBI TECHNOLOGIES, INC., TECHTRONIC INDUSTRIES NORTIi

   AMERICA, INC., ONE WORLD TECHNOLOGIES, INC. and/or "ABC CORP.1-10" (last being

   a fictitious designation), jointly, severally and/or jointly and severally, for damages, interest, costs

   of suit, and such other relief as the Court deems necessary and proper.

                                               JURY DEMAND

           Plaintiff demands a trial by jury on all issues so triable.

                                DESIGNATION OF TRIAL COUNSEL

           Pursuant to Rule 4:25-4, Daniel S. Suh, Esq. is designated as trial counsel.

                                            CERTIFICATION

           I hereby certify that this matter is not the subject of any other action pending in any court

   or arbitration proceeding, that no such other action or arbitration proceeding is contemplated by

   the Plaintiff, and that there are no other parties, whom, to the knowledge of the Plaintifl's counsel,

   should be joined in this action.

          I hereby certify that the foregoing statements made by me are trae. I am aware that if any

   of the foregoing statements made by me are willfally false, I am subject to punishment.



                                                   LAW OFFICES ROSEMARIE ARIeTOLD
                                                   Attorneys for Plaintiff

                                                   Q'1~'~Q' (W64
                                                   Daniel S. Suh
   Dated: June 15, 2021
Case 2:21-cv-14208-JXN-AME Document 1 Filed 07/27/21 Page 40 of 40 PageID: 40
        BER-L-003960-21 06/18/2021 3:29:59 PM Pg 1 of 1 Trans ID: LCV20211469765




                          Civil Case Information Statement
   Case Details: BERGEN I Civil Part Docket# L-003960-21

  Case Caption: RIVIECCIO ANTHONY VS RYOBI                         Case Type: PRODUCT LIABILITY
  TECHNOLOGIES, INC.                                               Document Type: Complaint with Jury Demand
  Case Initiation Date: 06/18/2021                                 Jury Demand: YES - 12 JURORS
  Attorney Name: DANIEL S SUH                                      Is this a professional malpractice case? NO
  Firm Name: ROSEMARIE ARNOLD                                      Related cases pending: NO
  Address: 1366 PALISADE AVE                                       If yes, list docket numbers:
  FORT LEE NJ 07024                                                Do you anticipate adding any parties (arising out of same
  Phone:2014611111                                                 transaction or accurrence)? NO
  Name of Party: PLAINTIFF : Rivieccio, Anthony
                                                                   Are s®xual abuse claims alleged by: Anthony Rivieccio? NO
  Name of Defendant's Primary Insurance Company
  (if known): Unknown



        THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED YNTO EVIDENCE
                        CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




  Do parties have a current, past, or recurrent relationship? NO
  If yes, is that relationship:
  Does the statute governing this case provide for payment of fees by the losing party? NO
  Use this space to alert the court to any special case characteristics that may w►arrant individual
  management or accelerated disposition:



  Do you or your client need any disability accommodations? NO
         If yes, please identify the requested accommodation:



   Will an interpreter be needed? NO
            If yes, for what language:


  Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO



  I certify that confidential personal identifiers have been redacted from documents now submitted to the
   court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

   06/18/2021                                                                                               /s/ DANIEL S SUH
  Dated                                                                                                               Signed
